Case 6:20-cv-02153-GAP-GJK Document 1 Filed 11/23/20 Page 1 of 38 PageID 1




                    IN THE UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                             ORLANDO DIVISION

 A.E., a minor, by A.E. and H.E., his
 next friends, parents, and natural guardians;
 J.O., a minor, by J.O., his next friend,
 parent, and natural guardian; O.E., a minor,
 by D.E. and M.E., his next friends, parents, and
 natural guardians; J.K., a minor, by S.K. and C.K., his
 next friends, parents, and natural guardians; and
 D.R., a minor, by A.F., his next friend, parent,
 and natural guardian,

                Plaintiffs,



 V.                                            Case No.: __________________

                                               JURY TRIAL DEMANDED AND
                                               INJUNCTIVE RELIEF REQUESTED

 BREVARD COUNTY SCHOOL BOARD;
 BREVARD COUNTY SCHOOL DISTRICT;
 and STACEY GARZIONE,

                Defendants.

                                       COMPLAINT
        COMES NOW Plaintiffs, A.E., a minor, by A.E. and H.E., his next friends,

 parents, and natural guardians; J.O., a minor, by J.O., his next friend, parent, and natural

 guardian; O.E., a minor, by D.E. and M.E., his next friends, parents, and natural guardians;

 J.K., a minor, by S.K. and C.K., his next friends, parents, and natural guardians; and D.R.,


                                              1

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Case 6:20-cv-02153-GAP-GJK Document 1 Filed 11/23/20 Page 2 of 38 PageID 2




 a minor, by A.F., his next friend, parent, and natural guardian (collectively “Plaintiffs”),

 by and through undersigned counsel, and for their complaint against Defendants, Brevard

 County School Board; Brevard County School District; and Stacey Garzione (collectively

 “Defendants”), state and allege as follows:



                                                PARTIES

        1.      Plaintiff, A.E. (hereinafter “A.E.”), a minor, by A.E. and H.E., his next

 friends, parents, and natural guardians, are residents and citizens of Brevard County, State

 of Florida.

        2.      At all times material hereto, A.E. was a 7-year-old minor child who has

 been diagnosed with developmental disabilities, including autism. As a result, he is a

 qualified individual with disabilities under the definitions of the Rehabilitation Act, 29

 U.S.C. § 794, Section 504 and the Americans with Disabilities Act, Title II, 42 U.S.C. §

 12131 et seq., and a member of a protected class under 42 U.S.C. § 1981, et seq. A.E. is

 also a member of a protected class under 42 U.S.C. § 1981, et seq., by virtue of his race.

        3.      Plaintiff, J.O. (hereinafter “J.O.”), a minor, by J.O., his next friends, parents,

 and natural guardians, are residents and citizens of Brevard County, State of Florida.

        4.      At all times material hereto, J.O. was a 7-year-old minor child who has been

 diagnosed with developmental disabilities, including autism. As a result, he is a qualified

 individual with disabilities under the definitions of the Rehabilitation Act, 29 U.S.C. § 794,

                                                2

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Case 6:20-cv-02153-GAP-GJK Document 1 Filed 11/23/20 Page 3 of 38 PageID 3




 Section 504 and the Americans with Disabilities Act, Title II, 42 U.S.C. § 12131 et seq.,

 and a member of a protected class under 42 U.S.C. § 1981, et seq. J.O.. is also a member

 of a protected class under 42 U.S.C. § 1981, et seq., by virtue of his race.

        5.      Plaintiff, O.E. (hereinafter “O.E.”), a minor, by D.E. and M.E., his next

 friends, parents, and natural guardians, are residents and citizens of Brevard County, State

 of Florida.

        6.      At all times material hereto, O.E. was a 8-year-old minor child who has

 been diagnosed with developmental disabilities, including autism. As a result, he is a

 qualified individual with disabilities under the definitions of the Rehabilitation Act, 29

 U.S.C. § 794, Section 504 and the Americans with Disabilities Act, Title II, 42 U.S.C. §

 12131 et seq., and a member of a protected class under 42 U.S.C. § 1981, et seq.

        7.      Plaintiff, J.K. (hereinafter “J.K.”), a minor, by S.K., his next friends,

 parents, and natural guardians, are residents and citizens of Brevard County, State of

 Florida.

        8.      At all times material hereto, J.K. was a 6-year-old minor child who has been

 diagnosed with developmental disabilities, including autism. As a result, he is a qualified

 individual with disabilities under the definitions of the Rehabilitation Act, 29 U.S.C. § 794,

 Section 504 and the Americans with Disabilities Act, Title II, 42 U.S.C. § 12131 et seq.,

 and a member of a protected class under 42 U.S.C. § 1981, et seq.

        9.      Plaintiff, D.R. (hereinafter “D.R.”) (collectively referred to hereinafter as

                                               3

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Case 6:20-cv-02153-GAP-GJK Document 1 Filed 11/23/20 Page 4 of 38 PageID 4




 “Plaintiffs”), a minor, by A.F., his next friends, parents, and natural guardians, are residents

 and citizens of Brevard County, State of Florida.

         10.     At all times material hereto, D.R. was a 6-year-old minor child who has

 been diagnosed with developmental disabilities, including autism. As a result, he is a

 qualified individual with disabilities under the definitions of the Rehabilitation Act, 29

 U.S.C. § 794, Section 504 and the Americans with Disabilities Act, Title II, 42 U.S.C. §

 12131 et seq., and a member of a protected class under 42 U.S.C. § 1981, et seq.

         11.     Defendant, Brevard County School Board (the “School Board”), is a

 governmental agency, organized under the Laws of Florida, the governing body of the

 Brevard County School District and responsible for the control, operation, organization,

 management, and administration of public schools in Brevard County, Florida, which

 includes but is not limited to providing education to children both with and without

 disabilities who reside in Brevard County, Florida.

         12.     Defendant, Brevard County School District (the “School District”), is a

 governmental entity, organized under the Laws of Florida, and is part of the state system

 of public education and includes all public school, classes, courses of instruction and all

 services and activities which are under the School District’s officials’ directions and

 directly related to education in the district. (The School Board and School District shall

 sometimes be collectively referred to hereinafter as the “School Entities” or “Brevard

 County Schools”).

                                                4

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Case 6:20-cv-02153-GAP-GJK Document 1 Filed 11/23/20 Page 5 of 38 PageID 5




        13.     The School Entities are recipients of federal financial assistance by virtue

 of their receipt of funds for the education of disabled students in Brevard County from the

 United States Department of Education.

        14.     Stacey Garzione, at all times material hereto, was a resident and citizen of

 Brevard County, Florida, sui juris, and was employed by the School Entities as an ESE

 teacher at Ralph Williams Elementary School (“Ralph Williams”).

        15.     During the 2018 – 2019 school year, including all times material to the

 events described herein, Plaintiffs were all special education students in Garzione’s

 classroom at Ralph Williams.



                                  JURISDICTION & VENUE

        16.     This Court has original jurisdiction over the subject matter of Plaintiffs’

 causes of action, pursuant to 28 U.S.C. § 1331, because they arise under the Rehabilitation

 Act, 29 U.S.C. § 794, Section 504, the Americans with Disabilities Act, Title II, 42 U.S.C.

 §12131 et seq., and 42 U.S.C. § 1983.

        17.     Additionally, this Court has supplemental jurisdiction over Plaintiffs’ state-

 law claims pursuant to 28 U.S.C. § 1367.

        18.     The events giving rise to the claims alleged in the Complaint arose in

 Brevard County, Florida which is within the confines of the Orlando Division of the Middle

 District of Florida. 28 U.S.C. §89(b). Venue in this Court is therefore proper pursuant to

                                              5

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Case 6:20-cv-02153-GAP-GJK Document 1 Filed 11/23/20 Page 6 of 38 PageID 6




 28 U.S.C. §1441(a).

        19.     Ralph Williams, located at 1700 Clubhouse Dr., Rockledge, FL 32955, is,

 and at all times material to this Complaint was, a public elementary school within the

 domain and jurisdiction of Brevard County Schools.

        20.     All conditions precedent to the bringing of this action by Plaintiffs, if any,

 have occurred, or their performance have been waived by Defendants.



                                       INTRODUCTION

        21.     The case sub judice is brought by an entire classroom of 6 to 8 year-old

 minors with varying degrees of intellectual and emotional disabilities, some of which are

 effectively rendered nonverbal. Certain plaintiffs are also members of a protected class

 under federal law by virtue of minority status in addition to their disability.

        22.     The case is being brought against Brevard County Schools for their

 fostering of a culture of unaccountability directly resulting in unconscionable abuse and

 restraint against Plaintiffs – young, disabled, and/or minority children – with the

 knowledge and tacit approval of their schools’ administration. But for internal

 whistleblowers pointing out the drastic abuse taking place within its classrooms, this abuse

 would have continued, unmitigated, with consequences far beyond what we can envision,

 even today. Brevard County Schools have a long history of sanctioning an environment

 where students without the ability to convey that harm is being done to them, can be abused

                                               6

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Case 6:20-cv-02153-GAP-GJK Document 1 Filed 11/23/20 Page 7 of 38 PageID 7




 and restrained without recourse.

            23.   As a result, Plaintiffs each experienced grievous physical and emotional

 injury and discrimination in violation of their civil rights by virtue of Defendants’ policies

 procedures and practices, and pattern of discrimination, on the basis of disability and race

 in their school district and by virtue of their pattern and practice of failing to protect

 Plaintiffs and other protected class members from abuse, restraint, seclusion, and other

 violations of civil rights.

            24.   In addition, this action is brought by Plaintiffs against Defendants for their

 failure to supervise and protect Plaintiffs from unlawful abuse seclusion and restraint by

 the Defendants.



                                    GENERAL ALLEGATIONS

            25.   Title II of the Americans with Disabilities Act is known as the “Prohibition

 Against Discrimination and Other Generally Applicable Provisions”. 42 U.S.C. §12131

 et. Seq.

            26.   Section 504 of the Rehabilitation Act of 1973 provides that “[n]o otherwise

 qualified individual with a disability” shall be “excluded, denied or discriminated against”

 by any facility receiving “federal financial assistance.” 29 U.S.C. § 794.

            27.   At all times material hereto, Defendants provided public accommodations,

 programs, and services within the meaning provided under applicable law.

                                                7

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Case 6:20-cv-02153-GAP-GJK Document 1 Filed 11/23/20 Page 8 of 38 PageID 8




        28.     Defendants failed to provide a safe and effective public education to

 Plaintiffs, free from discrimination and abuse. In particular:

                a. The School Entities, failed to establish policies and procedures for

                    Brevard County Public Schools, including the failure to implement

                    and/or follow students’ health care plans and physicians’ orders, and

                    failed to train and/or supervise its teachers and employees, including

                    principals, assistant principals, teachers, teachers’ aides, so as to permit

                    a policy custom or practice that caused said teachers and employees to

                    violate the Constitutional and civil rights of this students, including

                    Plaintiffs;

                b. The School Entities failed to train and/or supervise its teachers and

                    employees as to appropriate discipline, safety, compliance, and

                    supervision of students enrolled in Brevard County Public Schools,

                    including Ralph Williams;

                c. The School Entities failed to properly train and/or supervise staff so as

                    to protect Plaintiffs from exposure to abuse and/or dangerous conditions

                    in violation of their civil rights and Individualized Education Plans

                    (“I.E.P.”);

                d. The School Entities, by virtue of their deliberate indifference, adopted

                    a policy and pattern of practice of ignoring repeated incidents of abuse,

                                               8

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Case 6:20-cv-02153-GAP-GJK Document 1 Filed 11/23/20 Page 9 of 38 PageID 9




                   restraint, and seclusion of disabled students in Brevard County Public

                   Schools which disproportionately impacted and harmed its special-

                   needs students, including Plaintiffs; and

                e. The School Entities, by virtue of their deliberate indifference, permitted

                   employees and other agents to engage in acts of abuse, restraint, and

                   seclusion of special needs students, including specifically Plaintiffs, all

                   in violation of their civil rights and I.E.P.

        29.     At all times material hereto, Defendants owed Plaintiffs a duty to provide

 adequate supervision and protection of their rights while entrusted with their care,

 including protecting them from abuse, restraint, and seclusion.

        30.     Defendants breached that duty.

        31.     At all times material hereto, in accordance with the duties set forth above,

 the School Entities were and are required to act in accordance with acceptable professional

 standards, best practices and judgment.

        32.     At all times relevant hereto, Defendants, under color of state law, performed

 a public function to make available to exceptional, disabled, and/or handicapped children,

 such as Plaintiffs, a free and appropriate public education free from abuse, restraint, and

 seclusion.

        33.     At all times material hereto, the School Entities were responsible for

 establishing policies and procedures for Brevard County Public Schools, and were

                                              9

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Case 6:20-cv-02153-GAP-GJK Document 1 Filed 11/23/20 Page 10 of 38 PageID 10




   responsible for training and/or supervising its teachers and employees, including

   principals, assistant principals, teachers, and teachers’ aides, so as not to permit a policy

   custom or practice that caused said teachers and employees to violate the Constitutional

   and civil rights of its students, including Plaintiffs. The School Entities were further

   responsible for the training of its teachers and employees as to appropriate discipline,

   safety, compliance, and supervision of students enrolled in Brevard County Public Schools,

   including Ralph Williams.

           34.     Defendants, Brevard County Schools and Garzione, had a duty to ensure

   that Plaintiffs’ rights, pursuant to § 393.13, Fla. Stat., were protected.

           35.     At all times material hereto, Defendants, Brevard County Schools and

   Garzione, occupied a special custodial relationship with Plaintiffs, as a result of their

   disabilities, with the attendant duties to provide them with a safe environment, free from

   abuse, restraint, and seclusion.

           36.     Moreover, Defendants, Brevard County Schools and Garzione, had an

   affirmative duty to provide adequate supervision and protection of Plaintiffs’ rights while

   entrusted with their care, including protecting them from abuse, restraint, and seclusion.

           37.     As more fully alleged herein, Defendants, Brevard County Schools and

   Garzione, breached that duty.

           38.     The School Entities had actual, express, or constructive knowledge of the

   unlawful abuse, excessive and/or inappropriate use of restraint, seclusion and/or dangerous

                                                 10

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   conditions subjected upon its special needs students, including Plaintiffs.

           39.     In fact, the potential for abuse of special education students, such as

   Plaintiffs, by teachers in itself was foreseeable by Brevard County Schools. Brevard

   County Schools had previously encountered ESE teachers within its district who violated

   the constitutional rights of students. The very fact that these teachers taught emotionally

   and developmentally disabled children, including those with autism, increase the likelihood

   of abuse due to the stressful nature of the job.

           40.     The School Entities further knew that the use of restraint was

   disproportionately being used on ESE students in Brevard County public schools. For the

   period of August 2013 through June 2014, the School Entities reported 591 instances of

   physical restraint on 246 students. 50% of these students were either students who have

   emotional behavioral disorders or students who have autism. 46% of these students were

   in third grade or below. The School Entities failed to report data on seclusion incidents.

           41.     The School Entities further knew that its staff was not adequately trained in

   how to handle behavioral/crisis situations. For example, while the School Entities required

   its trainers to be certified by the Crisis Prevention Institute (CPI), it did not outline which

   staff it requires to be trained.

           42.     In the years leading up to the incident complained of herein, the School

   Entities were aware of and had direct knowledge of numerous occasions where ESE

   students were harmed, mistreated, and/or abused by school staff.

                                                 11

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Case 6:20-cv-02153-GAP-GJK Document 1 Filed 11/23/20 Page 12 of 38 PageID 12




          43.     In addition, the School Entities were aware of and had direct knowledge

   that ESE staff members were routinely suspended without pay, terminated, or agreed to

   resign as a result of misconduct and/or unprofessional behavior.

          44.     Moreover, the principal of Ralph Williams was made aware of, and had

   direct knowledge that Garzione routinely harmed, mistreated and/or abused students

   entrusted in her care, including Plaintiffs.

          45.     That despite their direct knowledge of the problems of mistreatment of ESE

   students and the routine finding of misconduct and/or unprofessional behavior of ESE staff,

   the School Entities approved a significant reduction of teaching and paraprofessional staff

   over the last 10 years.

          46.     The School Entities, by virtue of their deliberate indifference and/or gross

   misjudgment, adopted a policy, practice, and/or custom of ignoring the unlawful abuse of

   its special needs students, including Plaintiffs.



                                     SPECIFIC ALLEGATIONS

          47.     When they were first enrolled in Brevard County Schools, Plaintiffs were

   happy children with the potential to do well in school with the right supportive services

   and environment.

          48.     At all times material hereto, Garzione was Plaintiffs’ ESE teacher at Ralph

   Williams during the 2018 – 2019 school year.

                                                  12

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Case 6:20-cv-02153-GAP-GJK Document 1 Filed 11/23/20 Page 13 of 38 PageID 13




           49.    Certain paraprofessionals even remained with Plaintiffs prior to joining

   Garzione’s classroom, and after.

           50.    Prior to Garzione, Plaintiffs all demonstrated an interest in school and

   enjoyment at being around their friends. Students like A.E., J.O., and O.E. all made great

   strides under previous teachers, such as Ms. Kelly Mercer.

           51.    That ended upon joining Garzione’s class, as all of their development and

   behavior showed regression as a result of continued abuse, restraint, and/or seclusion by

   Garzione.

           52.    Garzione’s treatment resulted in Plaintiffs being subdued and fearful,

   constantly on edge.

           53.    Garzione bragged about being known as the “mean teacher” at Ralph

   Williams.

           54.    Garzione engaged in numerous acts of emotional and physical abuse against

   Plaintiffs.

           55.    Garzione routinely screamed at, and berated, her special education students,

   namely Plaintiffs. She would instruct paraprofessionals not to assist, and when children

   were unable to complete assignments, Garzione would get in their face, nose to nose, and

   begin screaming and yelling at them until they began to cry. She would then further threaten

   to send video of the crying children to their parents, further escalating emotional trauma

   and abuse.

                                               13

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Case 6:20-cv-02153-GAP-GJK Document 1 Filed 11/23/20 Page 14 of 38 PageID 14




          56.     She would then yell at Plaintiffs, “Ms. G doesn’t care if you are crying, do

   I?” She would repeat this until Plaintiffs were uncontrollably crying.

          57.     Garzione’s harassment and bullying of Plaintiffs continued until they

   reached the point of being inconsolable. Garzione would grab pencils out of their hands,

   rip their papers off of their desk, crumpling the paper up in front of their face while

   screaming at them to start the assignment over. She would then use her cellphone to

   presumably film Plaintiffs and threaten to call their parents as they screamed and cried

   “no,” over and over.

          58.     For example, Garzione would grab and ball up J.O.’s work, slam it on his

   desk, and when he would begin to cry she would then mock him by saying “oh, are we

   going to cry now?” in a cruel tone. This would cause him to cry and break down,

   emotionally.

          59.     Further, Garzione would hold M&Ms in front of Plaintiffs’ faces who were

   misbehaving, acting like she was going to give them some while they witnessed the other

   students eating the candy. She would then put the M&Ms in her mouth and eat them, telling

   the student how good it was while Plaintiffs would spiral into an emotional tantrum, or

   crying hysterically. A complete meltdown sometimes resulted in a physical altercation

   where Garzione and paraprofessionals would have to restrain the student, often improperly

   and not in accordance with CPI.

          60.     Garzione would yell at Plaintiffs daily about how lazy and useless they

                                               14

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Case 6:20-cv-02153-GAP-GJK Document 1 Filed 11/23/20 Page 15 of 38 PageID 15




   were until they had reached a sign of complete distress. Some children would put on their

   headphones trying to block her screaming while others spiraled into emotional tantrums.

           61.     Garzione would also mimic a child’s voice when they were upset, calling

   them a baby and threatening to call their parents.

           62.     Once Garzione discovered a student’s weakness, she would repeatedly use

   it against the child.

           63.     For example, A.E. would meltdown and begin crying any time Garzione

   mocked him and called him a “momma’s boy”. By the time he was separated from

   Garzione, he was absolutely petrified of his teacher(s).

           64.     Garzione would leave Plaintiffs sitting with a 10-minute assignment for

   hours, despite not being able to finish. She would taunt them by singing, “Work, work,

   work, work” until the children were crying for her to stop.

           65.     The abuse of Plaintiffs was not just emotional, but also physical. Plaintiffs

   were unable to articulate the harm being done to them, despite the fact that abuse would

   occur repeatedly during the school week.

           66.     One of Garzione’s favorite methods of physical abuse involved weighted,

   blue activity mats. Approximately six (6) feet long and seven (7) feet wide, these mats

   were intended to calm down students who were struggling with emotional meltdowns or

   inability to remain seated.

           67.      Already fairly heavy, Garzione would put a students’ hands above his head,

                                                15

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Case 6:20-cv-02153-GAP-GJK Document 1 Filed 11/23/20 Page 16 of 38 PageID 16




   in a superman position, so just his arms and head were out of the mat. Garzione would then

   fold the mat over the student and kneel on the mat, pressing all of her body weight of

   approximately 140 pounds down on the student. Despite the child crying in pain, Garzione

   would continue to kneel on the mat anywhere from 20 to 30 seconds at a time until the

   student lost the ability to catch a breath, monitored by way of making the child count during

   the abusive exercise. When confronted by her paraprofessionals, Garzione would simply

   reply “you’re too nice” or “you’re too easy,” and instruct them to leave the room.

          68.     Despite    reporting    this   to   Ralph    Williams’     administration    by

   paraprofessionals, this abusive activity would be allowed to occur 3 to 4 times a week.

          69.      The physical abuse did not stop there. Garzione would regularly step on the

   fingers or toes of Plaintiffs when they were not sitting directly upright during “circle time.”

   Plaintiffs would respond with “ouch” when she stepped on the child and Garzione would

   tell them if they were sitting correctly, that would not have happened. This would routinely

   leave the children crying in pain and/or hysterical.

          70.      Garzione would regularly squeeze Plaintiffs’ hands on the pressure point

   of the soft tissue in between the thumb and index finger, about half of an inch in. The pain

   would be excruciating, causing the children to cry out. Garzione would brag that this type

   of punishment would not leave marks on the child.

          71.      Another method Garzione would use to cause Plaintiffs physical pain,

   without alerting parents by leaving marks, was digging her fingers under the armpits of the

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Case 6:20-cv-02153-GAP-GJK Document 1 Filed 11/23/20 Page 17 of 38 PageID 17




   child and lifting them up on those two spots, causing them to cry in pain.

          72.     Garzione also gave instructions to paraprofessionals on how to gag students

   that attempted to bite them, including Plaintiffs.

          73.     In an example which precisely describes Garzione’s reign of trauma, she

   would be called in to help with restraining a young female student with Downs Syndrome.

   She would grab her at the nape of the neck where it could not be seen by others, but cause

   the young girl immense pain. She would then brag, “I’m pulling her hair and she is not

   even responding.” High pain tolerance and/or inability to adequately report pain is a

   symptom common to Downs.

          74.     The School Entities had actual, express, and/or constructive notice of

   Garzione’s aforementioned conduct and failed to intervene or stop it.

          75.     Many of the above-listed incidents of abuse were witnessed by other

   employees of Ralph Williams, including teachers and paraprofessionals, and reported to

   Ralph Williams’ principal and assistant principal.

          76.     Despite their knowledge, Defendants did not report any such incidents to

   Plaintiffs’ parents and some incidents were actively concealed from the parents of special

   needs students.

          77.     Plaintiffs have suffered and observed horrible abuse by Garzione and, as a

   direct and proximate result thereof, have suffered physical, emotional, and mental injuries,

   including, but not limited to intimidation, trauma, developmental regression, and emotional

                                                17

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Case 6:20-cv-02153-GAP-GJK Document 1 Filed 11/23/20 Page 18 of 38 PageID 18




   distress.

           78.    Garzione was fully aware that Plaintiffs were easily emotionally abused and

   intimidated.

           79.    Each and all of the above acts, both of omission and commission, were acts

   of discrimination done with deliberate indifference to Plaintiffs’ disability and/or gross

   misjudgment and/or negligence and/or a violation of Plaintiffs’ rights as a disabled person

   under Federal and Florida law, were a proximate cause of the damages suffered by

   Plaintiffs.

           80.    Defendants discriminated against Plaintiffs with deliberate indifference to

   their disability and/or gross misjudgment in violation of the American with Disabilities

   Act, Title II, 42 U.S.C. §12131 et seq. and the Rehabilitation Act, 29 U.S.C. §794, and

   caused Plaintiffs to suffer and continue to suffer mental and physical pain and anguish.

           81.    Plaintiffs’ rights under the Rehabilitation Act and the ADA are federal and

   state entitlements, and involve property and liberty interests which are abridged,

   withdrawn, limited, or denied without due process of law in violation of the Fourteenth

   Amendment of the United States Constitution, 42 U.S.C. §1983.

           82.    Defendants had a duty which arose under the United States Constitution,

   and the laws of the United States and Florida to provide reasonable accommodations, safe,

   proper, and appropriate special education services and, while acting in concert and under

   the color of state law, breached that duty, thus violating Plaintiffs’ rights under the

                                               18

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Case 6:20-cv-02153-GAP-GJK Document 1 Filed 11/23/20 Page 19 of 38 PageID 19




   Rehabilitation Act, the ADA, the Fourteenth Amendment to the U.S. Constitution and

   §393, Florida Statutes.



       COUNT I – VIOLATION OF SECTION 504 OF THE REHABILITATION ACT OF 1973,
                   29 U.S.C. § 706 AS AGAINST THE SCHOOL ENTITIES

          83.     Plaintiffs hereby reassert by reference in this Count I the allegations of

   Paragraphs 1 through 82 of this Complaint as if fully set forth herein.

          84.     Section 504 of the Rehabilitation Act of 1973, provides that “[n]o otherwise

   qualified individual with a disability” shall be “excluded, denied or discriminated against”

   by any facility receiving “federal financial assistance.” 29 U.S.C. § 794.

          85.     Plaintiffs’ autism and other conditions substantially limit major life

   activities. Accordingly, Plaintiffs are considered to be individuals with a disability under

   Section 504 of the Rehabilitation Act, as amended. See 29 U.S.C. §706(8). Plaintiffs are

   otherwise qualified under Section 504 of the Rehabilitation Act because they meet the

   essential eligibility requirements for the School Entities’ services at all time material

   hereto. Furthermore, the School Entities are recipients of federal financial assistance.

          86.     The facts set forth in full herein demonstrate that the School Entities

   knowingly and intentionally allowed an unqualified teacher and/or staff to be responsible

   for Plaintiffs; failed to investigate and respond to unexplained injuries to Plaintiffs; failed

   to take action and/or intervene knowing that Garzione was using unlawful and egregious


                                                 19

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Case 6:20-cv-02153-GAP-GJK Document 1 Filed 11/23/20 Page 20 of 38 PageID 20




   restraint methods and further knowing that such failures put the most vulnerable students

   at risk of serious harm.

          87.     In addition to or in the alternative, the facts as set forth herein demonstrate

   that the School Entities acted with gross misjudgment as to education and provision of

   services to Plaintiffs. Specifically, the School Entities knowingly allowed an unqualified

   teacher and/or staff to be responsible for Plaintiffs; failed to investigate and respond to

   unexplained injury to Plaintiffs; failed to take action and/or intervene knowing that

   Garzione was using unlawful and egregious restraint methods and further knowing that

   such failures put the most vulnerable students at risk of serious harm.

          88.     The School Entities, while acting individually and in concert and under

   color of state law, violated Plaintiffs’ rights arising under the Rehabilitation Act in a

   discriminatory manner by failing to properly plan for, coordinate, communicate,

   disseminate, and provide Plaintiffs with a proper, safe, and free appropriate public

   education, special education, equipment, assistive technology devices and services, and all

   entitlements provided by the Rehabilitation Act and failing to accommodate properly and

   safely Plaintiffs’ disabilities, thus excluding Plaintiffs from participation in, denying

   Plaintiffs the benefits of, and subjecting Plaintiffs to discrimination under the ESE program

   provided by the School Entities by virtue of their disabilities.

          89.     The School Entities, while acting individually and in concert and under

   color of state law, conducted itself in a manner that was professionally unjustifiable and

                                                20

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Case 6:20-cv-02153-GAP-GJK Document 1 Filed 11/23/20 Page 21 of 38 PageID 21




   constituted gross misjudgment. Specifically, the School Entities violated Plaintiffs’ rights

   arising under the Rehabilitation Act in a discriminatory manner by failing to properly plan

   for, coordinate, communicate, disseminate, and provide Plaintiffs with a proper, safe, and

   free appropriate public education, special education, equipment, assistive technology

   devices and services, and all entitlements provided by the Rehabilitation Act and failing to

   accommodate properly and safely Plaintiffs’ disabilities, thus excluding Plaintiffs from

   participation in, denying Plaintiffs the benefits of, and subjecting Plaintiffs to

   discrimination under the ESE program provided by the School Entities by virtue of their

   disabilities.

           90.     The School Entities’ policies, practices, and customs, particularly the

   actions and omissions described hereinabove, violated Plaintiffs’ rights under Section 504

   of the Rehabilitation Act by discriminating on the basis of their disability.

           91.     The School Entities also denied Plaintiffs services they made available to

   non-disabled students.

           92.     Plaintiffs have suffered severe physical and emotional pain and suffering

   and damages in the past, and continue to suffer severe physical and emotional pain and

   suffering and damages due to the School Entities’ violations of Section 504 of the

   Rehabilitation Act of 1973.

           WHEREFORE, Plaintiffs, A.E., a minor, by A.E. and H.E., his next friends,

   parents, and natural guardians; J.O., a minor, by J.O., his next friend, parent, and natural

                                                21

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Case 6:20-cv-02153-GAP-GJK Document 1 Filed 11/23/20 Page 22 of 38 PageID 22




   guardian; O.E., a minor, by D.E. and M.E., his next friends, parents, and natural guardians;

   J.K., a minor, by S.K. and C.K., his next friends, parents, and natural guardians; and D.R.,

   a minor, by A.F., his next friend, parent, and natural guardian, respectfully request that the

   Court enter an Order: (1) awarding them compensatory damages for medical costs,

   psychological treatment, physical and emotional pain and suffering, mental anguish, loss

   of capacity for enjoyment of life, and diminished or reduced capacity for enjoyment of life;

   (2) that a jury be empaneled to hear their cause; (3) awarding them reasonable attorneys’

   fees and costs; and (4) awarding any and all other relief that the Court deems just and

   proper.



      COUNT II – VIOLATION OF TITLE II OF THE AMERICANS WITH DISABILITIES ACT,
                  42 U.S.C. § 12131 AS AGAINST THE SCHOOL ENTITIES

             93.   Plaintiffs hereby reasserts by reference in this Count II the allegations of

   Paragraphs 1 through 82 of this Complaint as if fully set forth herein.

             94.   Title II of the Americans with Disabilities Act is known as the “Prohibition

   Against Discrimination and Other Generally Applicable Provisions.” 42 U.S.C. §12131 et

   seq.

             95.   Plaintiffs’ autism and other conditions substantially limit major life

   activities. Therefore, Plaintiffs are considered to be individuals with a disability under

   Title II of the Americans with Disabilities Act because they meet the essential eligibility

   requirements for Defendants’ services at all times material hereto.
                                               22

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Case 6:20-cv-02153-GAP-GJK Document 1 Filed 11/23/20 Page 23 of 38 PageID 23




           96.     The School Entities’ policies, practices, and procedures, particularly the

   actions and omissions described hereinabove, violated Plaintiffs’ rights under Title II of

   the Americans with Disabilities Act, 42 U.S.C. § 12131, et seq., including discriminating

   against them on the basis of their disability.

           97.     The facts set forth in full herein demonstrate that the School Entities

   knowingly and intentionally allowed an unqualified teacher and/or staff to be responsible

   for Plaintiffs; failed to investigate and respond to unexplained injury to Plaintiffs; failed to

   take action and/or intervene knowing that Garzione was using unlawful and egregious

   restraint methods and further knowing that such failures put the most vulnerable students

   at risk of serious harm.

           98.     In addition to, or in the alternative, the facts as set forth herein demonstrate

   that the School Entities acted with gross misjudgment as to education and provision of

   services to Plaintiffs. Specifically, the School Entities knowingly and intentionally allowed

   an unqualified teacher and/or staff to be responsible for Plaintiffs; failed to investigate and

   respond to unexplained injury to Plaintiffs; failed to take action and/or intervene knowing

   that Garzione was using unlawful and egregious restraint methods and further knowing that

   such failures put the most vulnerable students at risk of serious harm.

           99.     The School Entities, while acting individually and in concert and under

   color of state law, violated Plaintiffs’ rights arising under the Americans with Disabilities

   Act in a discriminatory manner by failing to properly plan for, coordinate, communicate,

                                                    23

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Case 6:20-cv-02153-GAP-GJK Document 1 Filed 11/23/20 Page 24 of 38 PageID 24




   disseminate, and provide Plaintiffs with a proper, safe, and free appropriate public

   education, special education, equipment, assistive technology devices and services, and all

   entitlements provided by the Americans with Disabilities Act and failing to accommodate

   properly and safely Plaintiffs’ disabilities, thus excluding Plaintiffs from participation in,

   denying Plaintiffs the benefits of, and subjecting Plaintiffs to discrimination under the ESE

   program provided by the School Entities by virtue of their disabilities.

           100.    The School Entities, while acting individually and in concert and under

   color of state law, conducted itself in a manner that was professionally unjustifiable and

   constituted gross misjudgment. Specifically, the School Entities violated Plaintiffs’ rights

   arising under the Americans with Disabilities Act in a discriminatory manner by failing to

   properly plan for, coordinate, communicate, disseminate, and provide Plaintiffs with a

   proper, safe, and free appropriate public education, special education, equipment, assistive

   technology devices and services, and all entitlements provided by the Americans with

   Disabilities Act and failing to accommodate properly and safely Plaintiffs’ disabilities, thus

   excluding Plaintiffs from participation in, denying Plaintiffs the benefits of, and subjecting

   Plaintiffs to discrimination under the ESE program provided by the School Entities by

   virtue of their disabilities.

           101.    The School Entities policies, practices, and customs, particularly the actions

   and omissions described hereinabove, violated Plaintiffs’ rights under the Americans with

   Disabilities Act by discriminating at least in part on the basis of their disability.

                                                 24

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Case 6:20-cv-02153-GAP-GJK Document 1 Filed 11/23/20 Page 25 of 38 PageID 25




          102.    The School Entities also denied Plaintiffs services they made available to

   non-disabled students.

          103.    Plaintiffs have suffered severe physical and emotional pain and suffering

   and damages in the past, and continues to suffer severe physical and emotional pain and

   suffering and damages due to the School Entities’ violations of Title II of the Americans

   with Disabilities Act.

          WHEREFORE, Plaintiffs, A.E., a minor, by A.E. and H.E., his next friends,

   parents, and natural guardians; J.O., a minor, by J.O., his next friend, parent, and natural

   guardian; O.E., a minor, by D.E. and M.E., his next friends, parents, and natural guardians;

   J.K., a minor, by S.K. and C.K., his next friends, parents, and natural guardians; and D.R.,

   a minor, by A.F., his next friend, parent, and natural guardian, respectfully request that the

   Court enter an Order against the School Entities: (1) awarding them compensatory damages

   for medical costs, psychological treatment, physical and emotional pain and suffering,

   mental anguish, loss of capacity for enjoyment of life, and diminished or reduced capacity

   for enjoyment of life; (2) entry of an order permanently enjoining the School Entities from

   further committing the acts complained of herein; (3) awarding them punitive damages; (4)

   that a jury be empaneled to hear their cause; (5) awarding their reasonable attorneys’ fees

   and costs; and (6) awarding any and all other relief that the Court deems just and proper.




                                                25

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Case 6:20-cv-02153-GAP-GJK Document 1 Filed 11/23/20 Page 26 of 38 PageID 26




      COUNT III – VIOLATION OF 42 U.S.C. § 1983 AS AGAINST THE SCHOOL ENTITIES

           104.    Plaintiffs hereby reasserts by reference in this Count III the allegations of

   paragraphs 1 through 82 of this Complaint as if fully set forth herein.

           105.    This is a civil rights action for money damages against the School Entities

   pursuant to Title 42 U.S.C. §1983 for deprivation of Plaintiffs’ constitutional civil rights

   and their Fourteenth Amendment due process liberty interest. As more fully described

   above, the School Entities had actual or constructive knowledge during Plaintiffs’

   enrollment that its employees, agents and administrators were engaged in conduct that

   posed a foreseeable, pervasive and unreasonable risk of constitutional injury to Plaintiffs.

           106.    The Fourteenth Amendment liberty interest includes the right to be free

   from unnecessary and unreasonable force or intentional, reckless or deliberately indifferent

   or oppressive conduct that causes emotional or psychological harm.

           107.    At all times material hereto, the School Entities employed a pattern, practice

   and custom of failing to ensure the safety and well-being of Plaintiffs including but not

   limited to ensuring that Plaintiffs were free of unreasonable risk of injury.

           108.    At all times material hereto, the School Entities failed to properly train their

   employees and agents on how to protect Plaintiffs from exposure to unlawful maltreatment

   in violation of their civil rights as described herein. Specifically, the School Entities

   knowingly and intentionally allowed an unqualified teacher and/or staff to be responsible

   for Plaintiffs; failed to investigate and respond to unexplained injury to Plaintiffs; failed to

                                                 26

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Case 6:20-cv-02153-GAP-GJK Document 1 Filed 11/23/20 Page 27 of 38 PageID 27




   take action and/or intervene knowing that Garzione was using unlawful and egregious

   restraint methods and further knowing that such failures put the most vulnerable students

   at risk of serious harm, and failed to make reasonable accommodations for Plaintiffs.

          109.      By establishing the aforementioned patterns and practices, and further

   failing to respond to its actual or constructive knowledge regarding the misconduct set forth

   herein, Defendants demonstrated recklessness and deliberate indifference to Plaintiffs’

   constitutional rights, and tacit authorization of the abusive culture they had created.

          110.      The School Entities’ response and/or lack of response to its actual or

   constructive knowledge regarding the misconduct by its employees, agents and

   administrators    demonstrated     recklessness,   deliberate   indifference   to   Plaintiffs’

   constitutional rights and tacit authorization of the misconduct of its agents, staff and

   administrators, including Garzione.

          111.      The School Entities’ failure to act in response to its actual or constructive

   knowledge and affirmatively caused the injury suffered by Plaintiffs. The School Entities

   were deliberately indifferent to, permitted, and tolerated a historical pattern and practice of

   unjustified, unreasonable and inappropriate treatment of special needs children, which was

   atrocious as well as shocking to the conscience.

          WHEREFORE, Plaintiffs, A.E., a minor, by A.E. and H.E., his next friends,

   parents, and natural guardians; J.O., a minor, by J.O., his next friend, parent, and natural

   guardian; O.E., a minor, by D.E. and M.E., his next friends, parents, and natural guardians;

                                                 27

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Case 6:20-cv-02153-GAP-GJK Document 1 Filed 11/23/20 Page 28 of 38 PageID 28




   J.K., a minor, by S.K. and C.K., his next friends, parents, and natural guardians; and D.R.,

   a minor, by A.F., his next friend, parent, and natural guardian, respectfully request that the

   Court enter an Order against the School Entities: (1) awarding them compensatory damages

   for medical costs, psychological treatment, physical and emotional pain and suffering,

   mental anguish, loss of capacity for enjoyment of life, and diminished or reduced capacity

   for enjoyment of life; (2) entry of an order permanently enjoining the School Entities from

   further committing the acts complained of herein; (3) awarding their punitive damages; (4)

   that a jury be empaneled to hear their cause; (5) awarding them reasonable attorneys’ fees

   and costs; and (6) awarding any and all other relief that the Court deems just and proper.



        COUNT IV – VIOLATION OF 42 U.S.C. § 1983 AS AGAINST STACEY GARZIONE

          112.    Plaintiffs hereby reasserts by reference in this Count IV the allegations of

   Paragraphs 1 through 82 of this Complaint as if fully set forth herein.

          113.    This is a civil action for money damages against Garzione pursuant to Title

   42 U.S.C. §1983 for deprivation of Plaintiffs’ constitutional civil rights and his Fourteenth

   Amendment due process liberty interest.

          114.    Garzione’s physical and psychological abuse of her special needs students,

   including Plaintiffs, was shocking to the conscience, arbitrary, egregious and for the

   purpose of causing physical harm, pain, suffering and/or emotional or psychological

   trauma to Plaintiffs in violation of, and with deliberate indifference to, their Fourteenth

                                                28

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Case 6:20-cv-02153-GAP-GJK Document 1 Filed 11/23/20 Page 29 of 38 PageID 29




   Amendment due process liberty rights protected by the U.S. Constitution.

          115.    As a direct and proximate result of Garzione’s misconduct, Plaintiffs have

   suffered damages.

          WHEREFORE, Plaintiffs, A.E., a minor, by A.E. and H.E., his next friends,

   parents, and natural guardians; J.O., a minor, by J.O., his next friend, parent, and natural

   guardian; O.E., a minor, by D.E. and M.E., his next friends, parents, and natural guardians;

   J.K., a minor, by S.K. and C.K., his next friends, parents, and natural guardians; and D.R.,

   a minor, by A.F., his next friend, parent, and natural guardian, respectfully request that the

   Court enter an Order against Garzione: (1) awarding their compensatory damages for

   medical costs, psychological treatment, physical and emotional pain and suffering, mental

   anguish, loss of capacity for enjoyment of life, and diminished or reduced capacity for

   enjoyment of life; (2) awarding their punitive damages; (3) that a jury be empaneled to hear

   their cause; (4) awarding their reasonable attorneys’ fees and costs; and (5) awarding any

   and all other relief that the Court deems just and proper.



                 COUNT V – NEGLIGENCE AS AGAINST THE SCHOOL ENTITIES

          116.     Plaintiffs hereby reasserts by reference in this Count V the allegations of

   Paragraphs 1 through 82 of this Complaint as if fully set forth herein.

          117.    The School Entities were responsible for the operation and maintenance of

   Ralph Williams and, as such, owed a duty to Plaintiffs to exercise reasonable care in the

                                                29

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Case 6:20-cv-02153-GAP-GJK Document 1 Filed 11/23/20 Page 30 of 38 PageID 30




   operation of Ralph Williams, particularly with regard to the supervision of Plaintiffs so as

   to protect them from unlawful abuse, restraint and seclusion.

          118.    Particularly, the School Entities owed a duty to Plaintiffs to exercise

   reasonable care and/or ensure safe conditions and supervision. The exercise of such duties

   includes but is not limited to the following:

                  (a)     Supervising students so as to protect them from
                          abuse, improper and/or excessive restraint and
                          seclusion;

                  (b)     Training and/or supervising its teachers and
                          employees as to the appropriate methods for the
                          discipline, restraint, safety, and supervision of its
                          students; and

                  (c)     Implementation and enforcement of adequate safety
                          procedures to ensure that students are free from
                          abuse, improper and/or excessive restraint, and
                          seclusion.

          119.    The School Entities breached their aforementioned duties and deviated from

   the applicable standards of care, by virtue of its conduct described hereinabove, particularly

   the School Entities failed to:

                  (a)     Properly supervise its students, namely Plaintiffs, so
                          as to protect him from abuse, improper and/or
                          excessive restraint and seclusion;

                  (b)     Properly train and/or supervise its teachers and
                          employees as to the appropriate methods for the
                          discipline, restraint, safety, and supervision of its
                          students; and


                                                   30

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Case 6:20-cv-02153-GAP-GJK Document 1 Filed 11/23/20 Page 31 of 38 PageID 31




                    (c)    Implement and enforce adequate safety procedures
                           in order to ensure that students were free from abuse,
                           improper and/or excessive restraint, and seclusion.

             120.   As a direct and proximate result of the aforementioned negligent acts and/or

   omissions of the School Entities, Plaintiffs have suffered bodily injury and resulting pain

   and suffering, post-traumatic stress disorder, disfigurement, mental anguish, loss of

   capacity for the enjoyment of life, aggravation of a pre-existing condition, and medical

   expenses.

             WHEREFORE, Plaintiffs, A.E., a minor, by A.E. and H.E., his next friends,

   parents, and natural guardians; J.O., a minor, by J.O., his next friend, parent, and natural

   guardian; O.E., a minor, by D.E. and M.E., his next friends, parents, and natural guardians;

   J.K., a minor, by S.K. and C.K., his next friends, parents, and natural guardians; and D.R.,

   a minor, by A.F., his next friend, parent, and natural guardian, respectfully request that the

   Court enter an Order against the School Entities: (1) awarding their compensatory damages

   for medical costs, psychological treatment, physical and emotional pain and suffering,

   mental anguish, loss of capacity for enjoyment of life, and diminished or reduced capacity

   for enjoyment of life; (2) awarding their punitive damages; (3) that a jury be empaneled to

   hear their cause; and (4) awarding any and all other relief that the Court deems just and

   proper.




                                                 31

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Case 6:20-cv-02153-GAP-GJK Document 1 Filed 11/23/20 Page 32 of 38 PageID 32




     COUNT VI – NEGLIGENT HIRING, TRAINING, RETENTION AND/OR SUPERVISION AS
                         AGAINST THE SCHOOL ENTITIES

          121.    Plaintiffs hereby reasserts by reference in this Count VI the allegations of

   Paragraphs 1 through 82 of this Complaint as if fully set forth herein.

          122.    The School Entities are responsible for the hiring, training, instruction,

   supervision, and discipline of its teachers, employees and/or agents, including without

   limitation Garzione, who were at all times relevant acting within the scope of their

   employment and/or agency.

          123.    The School Entities were negligent in its hiring, training, instruction,

   supervision, and discipline of Garzione.

          124.    Upon information and belief, prior to February 2019, teachers, employees

   and/or agents of the School Entities had incidents wherein ESE students were subjected to

   abuse, improper and/or excessive and/or improper restraint and seclusion.

          125.    That prior to February 2019, the School Entities knew or should have

   known that its employees and/or agents, including but not limited to Garzione, did not have

   adequate or appropriate training skills and/or certification to handle proper restraint

   procedures while working at public schools in Brevard County, Florida.

          126.    As a result, the School Entities were aware, or should have been aware, of

   these teachers’ and/or employees’ – including Garzione – unfitness for continuing

   employment with the School Entities.


                                               32

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Case 6:20-cv-02153-GAP-GJK Document 1 Filed 11/23/20 Page 33 of 38 PageID 33




           127.     The School Entities owed a duty to Plaintiffs with regard to: (a) conducting

   the proper investigation and due diligence before hiring the aforementioned employees

   and/or agents; (b) discharging the aforementioned employees and/or agents prior to

   February 2019; (c) ensuring the safety of Plaintiffs while they were enrolled at Brevard

   County Public Schools; (d) properly training employees and/or agents in their provision of

   services to Plaintiffs; (e) properly supervising employees and/or agents in their provision

   of services to Plaintiffs; and (f) ensuring Plaintiffs were not harmed, assaulted, or battered

   by employees and/or agents.

           128.     The School Entities breached their aforementioned duties, by virtue of its

   conduct described hereinabove, particularly the School Entities failed to: (a) conduct the

   proper investigation and due diligence before hiring the aforementioned employees and/or

   agents; (b) discharge the aforementioned employees and/or agents prior to February 2019;

   (c) ensure that Plaintiffs were safe and secure while he was enrolled in Brevard County

   public schools; (d) properly train employees and/or agents with regard to their provision

   of services to Plaintiffs; (e) properly supervise employees and/or agents in their provision

   of services to Plaintiffs; (f) ensure Plaintiffs was not harmed, assaulted, or battered by

   employees; and (g) ensure that employees and/or agents received the proper training in use

   of restraints.

           129.     As a direct and proximate result of the aforementioned acts and omissions

   of the School Entities, Plaintiffs have suffered bodily injury and resulting pain and

                                                 33

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Case 6:20-cv-02153-GAP-GJK Document 1 Filed 11/23/20 Page 34 of 38 PageID 34




   suffering, disfigurement, mental anguish, loss of capacity for the enjoyment of life,

   aggravation of a pre-existing condition, and medical costs.

          WHEREFORE, Plaintiffs, A.E., a minor, by A.E. and H.E., his next friends,

   parents, and natural guardians; J.O., a minor, by J.O., his next friend, parent, and natural

   guardian; O.E., a minor, by D.E. and M.E., his next friends, parents, and natural guardians;

   J.K., a minor, by S.K. and C.K., his next friends, parents, and natural guardians; and D.R.,

   a minor, by A.F., his next friend, parent, and natural guardian, respectfully request that the

   Court enter an Order against the School Entities: (1) awarding them compensatory

   damages for medical costs, psychological treatment, physical and emotional pain and

   suffering, mental anguish, loss of capacity for enjoyment of life, and diminished or reduced

   capacity for enjoyment of life; (2) awarding their punitive damages; (3) that a jury be

   empaneled to hear their cause; and (4) awarding any and all other relief that the Court

   deems just and proper.



               COUNT VII – VIOLATION OF RIGHTS PURSUANT TO FLA. STAT. § 393.13
                                AS AGAINST ALL DEFENDANTS

          130.    Plaintiffs hereby reasserts by reference in this Count VII the allegations of

   Paragraphs 1 through 82 of this Complaint as if fully set forth herein.

          131.    This is an action brought against Defendants pursuant to §393.13(5), Florida

   Statutes, for violation of the rights of a developmentally disabled person.


                                                34

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Case 6:20-cv-02153-GAP-GJK Document 1 Filed 11/23/20 Page 35 of 38 PageID 35




          132.    At all times material hereto, Plaintiffs were developmentally disabled by

   virtue of their severe developmental disabilities, including autism.

          133.    At all times material hereto, Defendants were persons as described in

   §393.13, Fla. Stat. and, as such, owed a duty to Plaintiffs to recognize, comply with,

   protect, and take reasonable steps to ensure the rights and privileges of the developmentally

   disabled, including Plaintiffs, as set forth in §393.13(3), Florida Statutes, including but not

   limited to the following:

                  (a) The right to dignity, privacy, and humane care,
                      including the right to be free from abuse, including
                      sexual abuse, neglect, and exploitation;

                  (b) The right to receive services, within available sources,
                      which protect the personal liberty of the individual and
                      which are provided in the least restrictive conditions
                      necessary to achieve the purpose of the treatment;

                  (c) The right to participate in an appropriate program of
                      quality education and training services, within available
                      resources, regardless of chronological age or degree of
                      disability; and

                  (d) The right to be free from harm, including unnecessary
                      physical, chemical or mechanical restraint, isolation,
                      excessive medication, abuse or neglect.

          134.    Defendants breached their aforementioned duties and violated the

   aforementioned rights of Plaintiffs, by virtue of their conduct described hereinabove,

   particularly Defendants failed to ensure that Plaintiffs received a quality education free

   from abuse, neglect, unnecessary restraint, and/or isolation while enrolled at Brevard

                                                 35

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Case 6:20-cv-02153-GAP-GJK Document 1 Filed 11/23/20 Page 36 of 38 PageID 36




   County public schools, including but not limited to Plaintiffs’ enrollment at Ralph

   Williams.

             135.   Defendants failed to act in good faith and with due care to ensure that

   Plaintiffs’ rights as a developmentally disabled person were not violated or infringed upon

   due to negligence, misfeasance, nonfeasance, or malfeasance.

             136.   As a direct and proximate result of the aforementioned acts and/or

   omissions of Defendants, Plaintiffs have suffered bodily injury and resulting pain and

   suffering, post-traumatic stress disorder, disfigurement, mental anguish, loss of capacity

   for the enjoyment of life, aggravation of a pre-existing condition, and medical expenses.

             WHEREFORE, Plaintiffs, A.E., a minor, by A.E. and H.E., his next friends,

   parents, and natural guardians; J.O., a minor, by J.O., his next friend, parent, and natural

   guardian; O.E., a minor, by D.E. and M.E., his next friends, parents, and natural guardians;

   J.K., a minor, by S.K. and C.K., his next friends, parents, and natural guardians; and D.R.,

   a minor, by A.F., his next friend, parent, and natural guardian, respectfully request that the

   Court enter an Order against Defendants: (1) awarding them compensatory damages for

   medical costs, psychological treatment, physical and emotional pain and suffering, mental

   anguish, loss of capacity for enjoyment of life, and diminished or reduced capacity for

   enjoyment of life; (2) awarding them punitive damages; (3) that a jury be empaneled to

   hear his cause; and (4) awarding any and all other relief that the Court deems just and

   proper.

                                                36

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Case 6:20-cv-02153-GAP-GJK Document 1 Filed 11/23/20 Page 37 of 38 PageID 37




                         COUNT VIII – BATTERY AGAINST GARZIONE

          137.    Plaintiffs hereby reasserts by reference in this Count VIII the allegations of

   Paragraphs 1 through 82 of this Complaint as if fully set forth herein.

          138.    Garzione committed acts, as set forth hereinabove, intending to cause

   harmful contact with Plaintiffs or causing Plaintiffs to be in imminent apprehension of such

   a contact.

          139.    Thereafter, Garzione made a harmful and offensive contact with Plaintiffs.

          140.    As a direct and proximate result of the aforementioned acts and omissions

   of Garzione, Plaintiffs has suffered bodily injury and resulting pain and suffering,

   disfigurement, mental anguish, and loss of capacity for the enjoyment of life.

          141.    Moreover, the aforementioned acts and omissions of Vance constituted

   gross negligence insofar as the conduct was so reckless or wanting in care that it constituted

   a conscious disregard or indifference to the life, safety, or rights of Plaintiffs who were

   exposed to such conduct.

         WHEREFORE, Plaintiffs, A.E., a minor, by A.E. and H.E., his next friends,

   parents, and natural guardians; J.O., a minor, by J.O., his next friend, parent, and natural

   guardian; O.E., a minor, by D.E. and M.E., his next friends, parents, and natural guardians;

   J.K., a minor, by S.K. and C.K., his next friends, parents, and natural guardians; and D.R.,

   a minor, by A.F., his next friend, parent, and natural guardian, respectfully request that the

                                                37

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Case 6:20-cv-02153-GAP-GJK Document 1 Filed 11/23/20 Page 38 of 38 PageID 38




   Court enter an Order against Garzione: (1) awarding them compensatory damages for

   medical costs, psychological treatment, physical and emotional pain and suffering, mental

   anguish, loss of capacity for enjoyment of life, and diminished or reduced capacity for

   enjoyment of life; (2) awarding their punitive damages; (3) that a jury be empaneled to hear

   their cause; and (4) awarding any and all other relief that the Court deems just and proper.



          Respectfully submitted this 23rd day of November, 2020.

   s/Aaron Carter Bates___________
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                                               38

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